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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN


                                               NO. 20-10211
Priorities USA, Rise, Inc., and the
Detroit/Downriver Chapter of the A.
                                               JUDGE MARK A. GOLDSMITH
Philip Randolph Institute,

             Plaintiffs,                       MAGISTRATE JUDGE DAVID
                                               R. GRAND
v.
                                                     MOTION FOR A
Dana Nessel, in her official capacity as           PRELIMINARY AND
Attorney General of the State of                PERMANENT INJUNCTION
Michigan,

             Defendant.


       Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs Priorities USA,

Rise, Inc., and the Detroit/Downriver Chapter of the A. Philip Randolph Institute

move for a preliminary and permanent injunction against the enforcement of (1) the

Absentee Ballot Organizing Ban codified at Michigan Compiled Laws § 168.759(4),

(5), (8), and (2) the Voter Transportation Ban codified at Michigan Compiled Laws

§ 168.931(1)(f). The undersigned counsel certifies that counsel made no attempt to

seek concurrence in the relief requested by this motion because counsel has not yet

entered an appearance. Counsel did, however, send a request for concurrence to

counsel in Priorities v. Nessel Civil Action No. 19-13341 (E.D. Mich.) which was

denied and will serve this motion on Defendant with the complaint.
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      The Absentee Ballot Organizing Ban and Voter Transportation Ban restrict

efforts to empower and mobilize voters to participate in the electoral process and

thereby curb the efforts of organizations like Plaintiffs to build political power within

their constituent communities. The laws regulate core political expression

imprecisely and without adequate justification, and in conflict with federal law.

They also make it more difficult for individuals to vote in Michigan by reducing

transportation options and the pool of persons who can assist voters in voting.

      With the 2020 election less than 10 months away, the continued enforcement

of the Absentee Ballot Organizing Ban and the Voter Transportation Ban irreparably

injures Plaintiffs by requiring them to abstain from engaging in constitutionally

protected political expression. Therefore, an injunction preventing enforcement of

the laws would promote the public interest in “robust enforcement of constitutional

rights.” Am. Freedom Def. Initiative v. Suburban Mobility Auth. for Reg’l Transp.

(SMART), 698 F.3d 885, 896 (6th Cir. 2012). Finally, an injunction would not cause

substantial harm to Defendant Attorney General Nessel or others. Accordingly,

Plaintiffs request a preliminary injunction against enforcement of the Absentee

Ballot Organizing Ban and the Voter Transportation Ban. Plaintiffs submit the

attached brief and affidavits in support of their motion. Plaintiffs have

contemporaneously filed a motion to consolidate the court’s decision on the



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 preliminary injunction with a trial on the merits and therefore also request a

 permanent injunction and declaratory judgment.

Dated: January 28, 2020                      Respectfully submitted,

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                          CERTIFICATE OF SERVICE

I hereby certify that on January 28, 2020, I electronically filed the above document(s)

with the Clerk of the Court using the ECF System and will serve the motion on

Defendant with the Complaint.

                       LOCAL RULE CERTIFICATION

I, Marc Elias, certify that this document and complies with Local Rule 5.1(a),

including: double-spaced (except for quoted materials and footnotes); at least one-

inch margins on the top, sides, and bottom; consecutive page numbering; and type

size of all text and footnotes that is no smaller than 10-1/2 characters per inch (for

non-proportional fonts) or 14 point (for proportional fonts). I also certify that it is

the appropriate length. Local Rule 7.1(d)(3).




                                        Respectfully submitted,

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